      Case 1:21-cv-08297-LGS Document 14 Filed 01/13/22 Page 1 of 2


                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York



                                                     86 Chambers Street, 3rd floor
                                                     New York, New York 10007


                                                    January 12, 2022

By ECF                                      Application GRANTED. CENTCOM'S deadline to
Hon. Lorna G. Schofield                     make a final determination is extended to January
United States District Judge                18, 2022. So Ordered.
Southern District of New York
Daniel P. Moynihan U.S. Courthouse          Dated: January 13, 2022
500 Pearl Street                                   New York, New York
New York, NY 10007

                   Re:     New York Times Co. et al. v. United States Central Command,
                           No. 21 Civ. 8297

Dear Judge Schofield:

        Defendant the United States Central Command (“CENTCOM”) writes
respectfully, and with the consent of plaintiffs, to request a further extension, to January
18, 2022, of the deadline for CENTCOM to make a final determination with regard to
plaintiffs’ request under the Freedom of Information Act (“FOIA”) for release of certain
aerial footage of a strike in Afghanistan on August 29, 2021. Under the parties’ proposed
schedule, which the Court endorsed on December 3, 2021 (ECF No. 11), CENTCOM
was to make a final determination and release any part of the footage deemed disclosable
by January 6, 2022. By letter dated January 6, and with plaintiffs’ consent, CENTCOM
requested an extension of the deadline until today. CENTCOM now requests an
additional three business days, until January 18, to make its final determination.

         As explained in our January 6 letter, the requested footage is currently classified
in full, and CENTCOM has been engaged in high-level consultations regarding whether
any portions can be declassified and publicly released. CENTCOM has nearly completed
those consultations, but respectfully requests additional time to allow the Office of
Secretary of Defense (“OSD”) to review and approve CENTCOM’s determination. The
remaining deadlines would remain the same. Specifically, by January 20, the parties will
meet and confer as to whether cross-motions for summary judgment will be necessary,
and by January 21, the parties will provide a status report to the Court and propose a
summary judgment briefing schedule if needed.

       Plaintiffs graciously consent to this additional requested extension of time.
Case 1:21-cv-08297-LGS Document 14
                                13 Filed 01/13/22
                                         01/12/22 Page 2 of 2




 We thank the Court for its consideration of this request.

                                           Respectfully,

                                           DAMIAN WILLIAMS
                                           United State Attorney for the
                                           Southern District of New York

                                       By: /s/ Sarah S. Normand
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